     Case 1:20-cv-03010-APM            Document 1164          Filed 02/11/25   Page 1 of 1




                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3010 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )
_________________________________________
                                          )
STATE OF COLORADO, et al.,                )
                                          )
      Plaintiffs,                         )
                                          )
             v.                           ) Case No. 20-cv-3715 (APM)
                                          )
GOOGLE LLC,                               )
                                          )
      Defendant.                          )
_________________________________________ )

                       SECOND AMENDED SCHEDULING ORDER

       The court amends its January 20, 2025 Amended Scheduling Order, ECF No. 1145, as

follows:

       A.     The Evidentiary Hearing shall be held April 21, 2025 to May 2, 2025, and May 6,

              2025 to May 9, 2025.

       B.     The parties’ post-hearing submissions shall be due by May 16, 2025.

       All other deadlines remain in full force and effect.




Dated: February 11, 2025                                    Amit P. Mehta
                                                      United States District Judge
